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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff                                   CRIMINAL 14-0562-15CCC
vs
15) ISABEL CLASSEN-TORRES,
a/k/a “Chavez” (Counts ONE
through FIVE)
Defendant



                                    ORDER

     Having considered the Report and Recommendation filed on May 5, 2016
(d.e. 532) on a Rule 11 proceeding of defendant [15] Isabel Classen-Torres
before U.S. Magistrate-Judge Bruce J. McGiverin on April 26, 2016, to which
no objection has been filed, the same is APPROVED. Accordingly, the plea
of guilty of defendant is accepted. The Court FINDS that her plea was
voluntary and intelligently entered with awareness of her rights and the
consequences of pleading guilty and contains all elements of the offense
charged in the indictment.
     This case was referred to the U.S. Probation Office for preparation of a
Presentence Investigation Report since April 26, 2016. The sentencing
hearing is set for July 27, 2016 at 4:15 PM.
     The U.S. Probation Officer is reminded that, should any objections be
raised by defendant to the PreSentence Report, the Addendum to said
PreSentence Report must specifically identify any unresolved objections, the
grounds for the objections, and the U.S. Probation Officer’s comments on
them, as required by Fed. R. Crim. P. 32(g). The party that raised the
unresolved objections shall, within twenty-four (24) hours after the
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Addendum is disclosed, state in writing whether it will insist that the unresolved
objections be ruled upon by the Court. Failure to do so will be deemed by the
Court as a withdrawal of the unresolved objections.
      SO ORDERED.
      At San Juan, Puerto Rico, on June 27, 2016.



                                            S/CARMEN CONSUELO CEREZO
                                            United States District Judge
